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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

INTERNATIONAL PAPER COMPANY                       )
                                                  )
              Plaintiff,                          )
                                                  )      No: 1:18-cv-1229
       v.                                         )
                                                  )
GEORGIA-PACIFIC CONSUMER                          )
PRODUCTS LP, FORT JAMES                           )
CORPORATION, GEORGIA-PACIFIC                      )
LLC, NCR CORPORATION,                             )
and WEYERHAEUSER COMPANY,                         )
                                                  )
              Defendants.                         )


     ORDER STAYING TIME TO ANSWER COMPLAINT, CROSS-CLAIMS AND
                   COUNTERCLAIM PENDING APPEAL


       Having considered the Joint Motion filed by Plaintiff International Paper Company and

Defendants Georgia-Pacific Consumer Products LP, Fort James Corporation, Georgia-Pacific

LLC, and Weyerhaeuser Company,

       IT IS ORDERED that, effective immediately, all deadlines in the above-captioned

proceeding, including the time to answer or move in response to Plaintiff’s complaint and

Defendant-Weyerhaeuser’s cross-claims and counterclaim, are stayed pending final adjudication

in the Supreme Court of the United States of Georgia-Pacific Consumer Products LP et al. v.

NCR Corporation, et al., Case No. 1:11-cv-00483 (RJJ) (the “GP v. NCR Action”).

       Following transmittal of the Supreme Court’s certified copy of judgment in the GP v.

NCR Action, (a) Defendant NCR Corporation shall have thirty (30) days to answer or otherwise

move in response to the Complaint in this Action; (b) Plaintiff shall have thirty (30) days to

answer or move in response to Defendant Weyerhaeuser Company’s Counterclaim; (c) Plaintiff
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shall have thirty (30) days to answer or move in response to Defendants Georgia-Pacific

Consumer Products LP, Fort James Corporation and Georgia-Pacific LLC’s Counterclaim; (d)

Defendants Georgia-Pacific Consumer Products LP, Fort James Corporation, Georgia-Pacific

LLC and NCR Corporation shall have thirty (30) days to answer or move in response to

Defendant Weyerhaeuser Company’s Cross-Claims; (e) Defendants NCR Corporation and

Weyerhaeuser Company shall have thirty (30) days to answer or move in response to Defendants

Georgia-Pacific Consumer Products LP, Fort James Corporation and Georgia-Pacific LLC’s

Cross-Claims.



       IT IS SO ORDERED.



         August 10, 2022
 Dated: _______________                            /s/ Robert J. Jonker
                                                 __________________________
                                                  Robert J. Jonker
                                                  United States District Judge
